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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   RODNEY WARRENFELTZ,                                   )
                                                         )
                  Plaintiff,                             )
                                                         )
   v.                                                    )       Case No. 17-CV-428-GKF-FHM
                                                         )
   HOGAN ASSESSMENT SYSTEMS, INC.,                       )
                                                         )
                  Defendant.                             )


                                                ORDER

          Before the court is the Motion to Strike Punitive Damages Claim [Doc. #33] of defendant

   Hogan Assessment Systems, Inc.

          Under Oklahoma law, “[t]he plea for punitive damages rests on the underlying claim, and

   if there is no recovery on the underlying claim, there can be no recovery of punitive damages.”

   Rodebush ex rel. Rodebush v. Okla. Nursing Homes, Ltd., 867 P.2d 1241, 1247 (Okla. 1993). The

   Oklahoma punitive damages statute limits the imposition of punitive damages to “action[s] for the

   breach of an obligation not arising from contract . . . .” 23 O.S. § 9.1. Thus, “a breach of contract

   alone cannot support an award of punitive damages.” Zenith Drilling Corp. v. Internorth, Inc.,

   869 F.2d 560, 565 (10th Cir. 1989) (Oklahoma law).

          Pursuant to this court’s order of March 29, 2018, only a breach of contract claim remains

   in this case. See [Doc. #55]. Because a breach of contract claim alone cannot support an award

   of punitive damages under Oklahoma law, plaintiff’s claim for punitive damages is stricken.
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          WHEREFORE, Defendant Hogan Assessment Systems, Inc.’s Motion to Strike Punitive

   Damages Claim [Doc. #33] is granted.

          DATED this 29th day of March, 2018.




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